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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                LAREDO DIVISION

JOSH LIMAS                                     §
                                               §      CIVIL ACTION NO.
Plaintiff                                      §
                                               §
VS.                                            §
                                               §
RDO EQUIPMENT CO.                              §
                                               §
Defendant                                      §

                                       COMPLAINT

TO THE U.S. DISTRICT JUDGE:

       COMES NOW, Plaintiff JOSH LIMAS and brings this cause of action against

RDO EQUIPMENT CO., (“RDO”). RDO EQUIPMENT CO., owns, controls, manages,

and rents the real estate, property, and improvements in Laredo, Texas where a business

named RDO Equipment operates. Mr. LIMAS respectfully shows that the Defendant’s

real estate, property, and improvements at the location are not accessible to individuals

with mobility impairments and disabilities, in violation of federal law.

                                         I. CLAIM

       1.      Mr. LIMAS, a person with a physical disability and mobility impairments,

brings this action for declaratory and injunctive relief, attorneys’ fees, costs, and

litigation expenses against Defendant for violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

       2.      Defendant refused to provide Mr. LIMAS and others similarly situated

with sufficient ADA-compliant parking in the parking lot that serves the RDO

Equipment. The Laredo location does not provide an ADA-Compliant Van Accessible


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disabled parking space. The access aisle is less than 96” wide. Based on these facts, RDO

has denied Mr. LIMAS the ability to enjoy the goods, services, facilities, privileges,

advantages, and accommodations at RDO Equipment.



                             JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

Act of 1990, 42 U.S.C. §12101, et seq.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

events complained of occurred in Laredo, Texas where the RDO business is located.

                                         PARTIES

       5.      Plaintiff JOSH LIMAS is an Honorably-discharged and Disabled Veteran,

who served who served as an Army Infantry soldier in Afghanistan. Mr. Limas has

difficulty walking, is disabled, and has injuries to his shoulder, foot, and back. Mr.

LIMAS has significant mobility impairments and uses assistive devices for mobility. Mr.

Limas has a disability rating from the Veteran’s Administration. He is a “qualified

individual with a disability” within the meaning of ADA Title III.

       6.      Defendant RDO EQUIPMENT CO., owns, manages, controls, and leases

the improvements and building where the RDO Equipment is situated. The address of

RDO Equipment is 102 Wilcox, Laredo, TX 78043. As an equipment rental and sales

store, the business is a place of public accommodation, operated by a private entity,

whose operations affect commerce within the meaning of Title III of the ADA.

       7.      Defendant RDO EQUIPMENT CO., is a foreign corporation whose

headquarters is PO Box 7160, Fargo, ND 58106-7160. Defendant can be served process


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via their Registered Agent: Corporation Service Company, 211 E. 7th St, Suite 620,

Austin, TX 78701.



                                        II. FACTS

       8.      RDO Equipment is a business establishment and place of public

accommodation in Laredo, Texas. RDO Equipment is situated on real estate, property,

and improvements owned, controlled, managed, and leased out by RDO EQUIPMENT

CO.

       9.      RDO Equipment is not accessible to disabled individuals because it has

zero ADA-Compliant Van Accessible parking spaces. The access aisle is less than 96”

wide. The spaces are sloped in excess of 1:50 and there is no sign.

       10.     Pictures taken at the location prove this:




RDO Equipment in Laredo TX. Wide angle view of property. No Van Accessible space.
 (must have 96” side access aisle, aisle cannot be in the path of traffic).



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RDO Equipment in Laredo TX. No Van Accessible space (must have 96” side access
 aisle, aisle cannot be in the path of traffic).




RDO Equipment in Laredo TX. No Van Accessible space (must have 96” side access
 aisle, aisle cannot be in the path of traffic).




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RDO Equipment in Laredo TX. No Van Accessible space (must have 96” side
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RDO Equipment in Laredo TX. No Van Accessible space (must have 96” side
 access aisle, aisle cannot be in the path of traffic).


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       11.     The Plaintiff went to RDO EQUIPMENT property located at 102 Wilcox,

Laredo, TX 78043 in September of 2020.

       12.     In encountering and dealing with the lack of an accessible facility, the

Plaintiff experienced difficulty and discomfort. These violations denied the Plaintiff full

and equal access to facilities, privileges and accommodations offered by the Defendant.

Plaintiff has the intent to return to the RDO Equipment.

       13.     Additionally, on information and belief, the Plaintiff alleges that the

failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

and obvious; (2) the Defendant exercised control and dominion over the conditions at this

location and, therefore, the lack of accessible facilities was not an “accident” because

Defendant intended this configuration; (3) Defendant has the means and ability to make

the change; and (4) the changes to bring the property into compliance are “readily

achievable.”

       14.     The Defendant’s Laredo location does not have the required number of

ADA parking spaces. With 1-25 parking spaces, Defendant must have one ADA-

compliant Van Accessible space (96” Wide with 96” Side Access Aisle). This space

must be located close to the entrance of the business. See pictures above, and Exhibit 1.

       15.     There are no Van Accessible Disabled Parking spaces at the RDO

Equipment in Laredo, Texas. In addition, the parking spaces have a slope that exceeds

1:50 and the location does not have a Van Accessible parking sign.

       16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

federal law for 30 years.




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          III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
               WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101


        17.     Plaintiff repleads and incorporates by reference, as if fully set forth again

herein, the allegations contained in all prior paragraphs of this complaint.

        18.     Under the ADA, it is an act of discrimination to fail to ensure that the

privileges, advantages, accommodations, facilities, goods and services of any place of

public accommodation is offered on a full and equal basis by anyone who owns, leases,

or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

is defined, inter alia, as follows:

                a.      A failure to make reasonable modifications in policies practices, or

        procedures, when such modifications are necessary to afford goods, services,

        facilities, privileges, advantages, or accommodations to individuals with

        disabilities, unless the accommodation would work a fundamental alteration of

        those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                b.      A failure to remove architectural barriers where such removal is

        readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

        reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

                c.      A failure to make alterations in such a manner that, to the

        maximum extent feasible, the altered portions of the facility are readily accessible

        to and usable by individuals with disabilities, including individuals who use

        wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

        the altered area and the bathrooms, telephones, and drinking fountains serving the

        altered area, are readily accessible to and usable by individuals with disabilities.




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       42 U.S.C. § 12183(a)(2).

       19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

Defendant must have at least one ADA-compliant Van Accessible space (96” Wide with

96” Side Access Aisle) near the business entrance. See Exhibit 1.

       20.     Here, the Defendant did not provide a sufficient number of ADA-

compliant parking spaces in its parking lot, although doing so is easily and readily done,

and therefore violated the ADA. This is a violation of the law and is discriminatory.



                               IV. RELIEF REQUESTED

Injunctive Relief

       21.     Mr. LIMAS will continue to experience unlawful discrimination as a

result of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he

and all individuals with disabilities can access the Defendant’s property equally, as

required by law, and to compel Defendant to repave and restripe the parking lot to

comply with the ADA. Injunctive relief is also necessary to compel Defendant to keep

the property in compliance with federal law.



Declaratory Relief

       22.     Mr. LIMAS is entitled to declaratory judgment concerning Defendant’s

violations of law, specifying the rights of individuals with disabilities to access the goods

and services at the Defendant’s location.

       23.     The facts are undisputed and Defendant’s non-compliance with the ADA


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has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

violations by the Defendant.



Attorneys’ Fees and Costs

          24.    Plaintiff is entitled to reasonable attorneys’ fees, litigation costs, and court

costs, pursuant to 42 U.S.C. §12205.



                                 V. PRAYER FOR RELIEF

          THEREFORE, Mr. LIMAS respectfully requests this Court award the following

relief:

          A. A permanent injunction, compelling Defendant to comply with the Americans

with Disabilities Act; and enjoining Defendant from violating the ADA and from

discriminating against Mr. LIMAS and those similarly-situated, in violation of the law;

          B. A declaratory judgment that Defendant’s actions are a violation of the ADA;

          C. Find that Mr. LIMAS is the prevailing party in this action, and order

Defendant liable for Plaintiff’s attorneys’ fees, costs, and litigation expenses; and,

          D. Grant such other and additional relief to which Plaintiff may be entitled in this

action.



    DATED: SEPTEMBER 30, 2020                    Respectfully,

                                         By:     /s/ R. Bruce Tharpe
                                                 R. Bruce Tharpe

                                                 LAW OFFICE OF
                                                 R. BRUCE THARPE, PLLC
                                                 PO Box 101
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                                  ATTORNEY OF RECORD FOR
                                  PLAINTIFF JOSH LIMAS




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